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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                          *
                                                   *


 V.



 TERRENCE TERRELL CONNER,                          *
                                                   *
                                                             Criminal No. 09-511 PJM
                                                             Civil No.     16-01595 PJM
       Defendant.                                  *
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                                  MEMORANDUM OPIMON

       Pro se^ Defendant Terrence Terrell Conner has moved to vacate his sentence pursuant to

28 U.S.C. § 2255. He argues that his conviction for use of a firearm during a crime of violence in

violation of 18 U.S.C. § 924(c)is unconstitutional and void. For the reasons that follow, Conner's

Motion is DENIED.

                                                  I.


       On December 23, 2008, Conner and two aecomplices robbed a GameStop store in Oxon

Hill, Maryland, posing as a customers before brandishing handguns and demanding the store

manager hand over money that was being transferred from cash registers to a safe. One of the

gunmen fired a shot into the floor, and the manager dropped a bag containing the money. The

group grabbed the money bag and fled, stealing approximately $7,425. Fingerprints left at the

scene were identified as belonging to Conner, and a left foot gray and white shoe left at the scene

matched a right foot grey and white shoe found at Conner's residence during the later execution

ofa search wanant. A 9mm semi-automatic pistol,9mm and .37 caliber ammunition and clothing


   ^ Originally, counsel filed Conner's Motion on his behalf, as well as a supplemental motion in 2019.
SeeECFNos. 118, 123. In May 2020, however, counsel filed a motion, which was granted, to withdraw
from Conner's pending 18 U.S.C. §2255 motion. See ECFNos. 139,140.
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